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                   Exhibit G
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Godfrey, Richard C.

From:                   James Roy [JIMR@wrightroy.com]
Sent:                   Wednesday, January 09, 2013 10:51 AM
To:                     Ben_AIIums@laed.uscourts.gov; Magistrate Shushan
Cc:                     Godfrey, Richard C.; *sherman@hhkc.com; Nick Gagliano (nick@gaglianogroup.com); Pat
                        Juneau (pjuneau@dheclaims.com); Christine Reitano; Brian Barr
Subject:                BP--- DWH ECON SETTLEMENT SUPPLEMENTAL NOTICE PROGRAM-----------
                        PROPOSED ORDER APPROVING JUNEAU TV AD


Judge Shushan and Ben:



Attached is a Proposed Order Steve and I as Lead Class Counsel are submitting in connection with
the DWH Economic Settlement Supplemental Notice Program to approve the "ad" Pat Juneau
recently produced.

This matter was raised in Court last month and BP requested two changes which the parties agreed
to.

The proposed (revised) ad is attached. The stock photos will lose their watermark in final production
once they are purchased.



The attached ad and proposed order have both been approved by Rick Godfrey on behalf of BP.

Pat Juneau has approved the ad.



We would ask that the Court consider the attached proposed order and enter it at its earliest
opportunity.



Of course if a formal motion is needed or if the Court has any questions, we will respond accordingly
to accommodate the Court's wishes.



Once an order is signed approving the ad, it will be run.



If you have any questions I can be reached at 337-278-7892 (CEL).



Regards, Jim
                                                     1
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Attachments:
    Proposed Order- Juneau Spot 1-8-2013.docx (16644 Bytes)
    Juneau_501_Ver_C-Viewer.mov (3150154 Bytes)




                                              2
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                         UNITED STATES DISTRICT OF COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL                 §             MDL No. 2179
RIG "DEEPWATER HORIZON"                     §
IN THE GULF OF MEXICO,                      §             SECTION: J
ON APRIL 20, 2010                           §
                                            §
      Relates to: No. 12-970                §             JUDGE BARBIER
                                            §
____________________________§                             MAG. JUDGE SHUSHAN


                                           ORDER

       Pursuant to Section 4.4.15 ofthe Economic and Property Damages Settlement

Agreement, Class Counsel developed a televised advisory with the participation and approval of

the Claims Administrator.

       In light of comments made by BP, the Parties agreed to a modification which has been

approved by the Claims Administrator.

       The revised advisory has been provided to BP, who has raised no objection.

       Now, therefore:

       IT IS ORDERED that, in accordance with Section 4.4.15 ofthe Economic and Property

Damages Settlement Agreement, the televised advisory submitted by Class Counsel be and is

hereby approved by the Court.

       Signed at New Orleans, Louisiana, this _ _ day of January, 2013.



                                                          Hon. Carl J. Barbier
